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IN THE UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF TKAS
IL

FOR THE NORTHERN DISTRICT OF TEXAS

 

 

 

 

 

 

 

AMARILLO DIVISION JAN 28 2021
CLERK, U.S. DISTRICT contr

UNITED STATES OF AMERICA § B97
Plaintiff,

v. 2:21-CR-6-Z-BR(1)

STEVEN ANTHONY REINHART :

Defendant.

ORDER

Before the Court is the parties’ Joint Motion to Conduct Guilty Plea via Video
Teleconference. ECF No. 9. For the reasons stated in the Joint Motion, the motion is granted.
Pursuant to 28 U.S.C. § 636(b)(1)(B), the Court refers this matter to the Honorable Magistrate
Judge Lee Ann Reno to conduct the rearraignment hearing and to provide a Report and
Recommendation.

SO ORDERED.

January 23 2021.

 

M. EW J/KACSMARYK
ITED STATES DISTRICT JUDGE

 
